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                                                      United States District Court
                                                      Central District of California


 UNITED STATES OF AMERICA vs.                                             Docket No.             CR 11-01068-ODW-1

 Defendant     Luis Manuel Tapia                                          Social Security No. 9          8   0   9
       Tapia, Luis Manuel, Also Known As: Tapia, Luis
       Ma uel, Moniker: “Taps”, Moniker: “LT”                             (Last 4 digits)
 akas: Moniker: “Bizee”

                                        JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                 MONTH   DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.   April    27   2015

  COUNSEL                                                          Marilyn E Bednarski, panel
                                                                          (Name of Counsel)

     PLEA            GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO            NOT
                                                                                                             CONTENDERE        GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 2:18:371: CONSPIRACY TO ENGAGE IN THE BUSINESS OF DEALING IN FIREARMS WITHOUT A
          LICENSE; Count 3:21:841(a)(1),(b)(1)(A(viii): POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION
          OF HEROIN, METHAMPHETAMINE, AND COCAINE; Count 4: 21:841(a)(1),(b)(1)(C): POSSESSION WITH INTENT
          TO DISTRIBUTE AND DISTRIBUTION OF HEROIN, METHAMPHETAMINE, AND COCAINE; Counts 5 ,8,13,14,
          16,17, 19, 25, 27 :18:922(g)(1): FELON IN POSSESSION OF A FIREARM; Count 6:21:841(a)(1),(b)(1)(B)(viii):
          POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION OF HEROIN, METHAMPHETAMINE, AND
          COCAINE; Count 7:21:841(a)(1),(b)(1)(C): POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION OF
          HEROIN, METHAMPHETAMINE, AND COCAINE; Count 9:21:841(a)(1),(b)(1)(A)(i): POSSESSION WITH INTENT TO
          DISTRIBUTE AND DISTRIBUTION OF HEROIN, METHAMPHETAMINE, AND COCAINE; Count
          10:21:841(a)(1),(b)(1)(A)(viii): POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION OF HEROIN,
          METHAMPHETAMINE, AND COCAINE;
          Count 11:21:841(a)(1),(b)(1)(B)(ii): POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION OF HEROIN,
          METHAMPHETAMINE, AND COCAINE; Count 12:18:924(c)(1)(A): USE AND CARRY A FIREARM DURING AND
          IN RELATION TO, AND POSSESSION OF A FIREARM IN FURTHERANCE OF A DRUG TRAFFICKING CRIME;
          Count 15: 21:841(a)(1),(b)(1)(B)(viii): POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION OF
          HEROIN, METHAMPHETAMINE, AND COCAINE; Count 18:26:5861(e): ILLEGAL TRANSFER OF A FIREARM;
          Counts 20, 21: 21:841(a)(1),(b)(1)(A)(viii): POSSESSION WITH INTENT TO DISTRIBUTE AND DISTRIBUTION OF
          HEROIN, METHAMPHETAMINE, AND COCAINE; Count 24:18:924(c)(1)(A): USE AND CARRY A FIREARM
          DURING AND IN RELATION TO, AND POSSESSION OF A FIREARM IN FURTHERANCE OF A DRUG
          TRAFFICKING CRIME; Count 26: 18:924(c)(1)(A): USE AND CARRY A FIREARM DURING AND IN RELATION TO,
          AND POSSESSION OF A FIREARM IN FURTHERANCE OF A DRUG TRAFFICKING CRIME; Count 29:
          21:848(a),(b),(s): CONTINUING CRIMINAL ENTERPRISE
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:
              Life plus 55 years on Counts 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21,
              24, 25, 26, 27, and 29 of the Indictment.
. This term consists of the following:

Life on each of Counts 3, 6, 9, 10, 11, 15, 20, 21, and 29, 60 months on Count

2, 360 months on each of Counts 4 and 7, and 120 months on each of Counts 5, 8,


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13, 14, 16, 17, 18, 19, 25, and 27, all such terms to be served concurrently,

60 months on Count 12, to be served consecutively to Counts 2, 3, 4, 5, 6, 7, 8,

9, 10, 11, 13, 14, 15, 16, 17, 18, 19, 20, 21, 25, 27, and 29,

300 months on Count 24, to be served consecutively to Counts 2, 3, 4, 5, 6, 7, 8,

9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 25, 27, and 29, and

300 months on Count 26, to be served consecutively to Counts 2, 3, 4, 5, 6, 7, 8,

9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 24, 25, 27, and 29.



If released from imprisonment, the defendant shall be placed on supervised release for a

term of 10 years. This term consists of 10 years on each of Counts 3, 9, 10, 20, and 21,

3 years on each of Counts 2, 5, 8, 13, 14, 16, 17, 18, 19, 25, and 27, 6 years on each of

Counts 4 and 7, 8 years on each of Counts 6, 11, and 15, 5 years on Counts 12, 24, 26,

and 29, all such terms to run concurrently under the following terms and conditions:



1. The defendant shall comply with the rules and regulations of the United

States Probation Office and General Order 05-02.



2. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of

release from imprisonment and at least two periodic drug tests thereafter,

not to exceed eight tests per month, as directed by the Probation Officer.



3. The defendant shall participate in an outpatient substance abuse treatment

and counseling program that includes urinalysis, breath and/or sweat patch

testing, as directed by the Probation Officer. The defendant shall abstain


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from using alcohol and illicit drugs, and from abusing prescription

medications during the period of supervision.



4. As directed by the Probation Officer, the defendant shall pay all or part of

the costs of treating the defendant's drug and alcohol dependency to the

aftercare contractor during the period of community supervision, pursuant

to 18 U.S.C. § 3672. The defendant shall provide payment and proof of

payment as directed by the Probation Officer.



5. During the period of community supervision, the defendant shall pay the

special assessment in accordance with this judgment's orders pertaining to

such payment.



6. The defendant shall cooperate in the collection of a DNA sample from himself.



7. The defendant shall not associate with anyone known to him to be a

Colonia Chiques gang member and/or Mexican Mafia gang member and

others known to him to be participants in the Colonia Chiques and Mexican

Mafia gang's criminal activities, with the exception of his family members.

He may not wear, display, use or possess any gang insignias, emblems,

badges, buttons, caps, hats, jackets, vests, or any other clothing that

defendant knows evidence affiliation with the Colonia Chiques gang and

Mexican Mafia gang, and may not display any signs or gestures that

defendant knows evidence affiliation with the Colonia Chiques gang and

Mexican Mafia gang.


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8. As directed by the Probation Officer, the defendant shall not be present in

any area known to him to be a location where members of the Colonia

Chiques and/or Mexican Mafia gang meet and/or assemble.



It is ordered that the defendant shall pay to the United States a special assessment of

$2,500, which is due immediately. Any unpaid balance shall be due during the period of

imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of

Prisons' Inmate Financial Responsibility Program.



Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the

defendant has established that he is unable to pay and is not likely to become able to pay

any fine.



The Court recommends the defendant to be housed in a California facility.



The Court recommends defendant to participate in the 5–hour RDAP.



The Court authorizes the Probation Office to disclose the Presentence Report to the

substance abuse treatment provider to facilitate the defendant's treatment for narcotic

addiction or drug dependency. Further redisclosure of the Presentence Report without the consent of this
Court.

Pursuant to 18 U.S.C. § 3553(a), the Court shall impose a sentence sufficient, but not

greater than necessary, to comply with the purposes set forth in paragraph (2) of this

subsection. The Court, in determining the particular sentence to be imposed, shall

consider --

1. The nature and circumstances of the offense and the history and characteristics of
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the defendant;

2. The need for the sentence imposed --

a. To reflect the seriousness of the offense; to promote respect for the law, and

to provide just punishment for the offense;

b. To afford adequate deterrence to criminal conduct;

c. To protect the public from further crimes of the defendant; and

d. To provide the defendant with needed correctional treatment in the most effective manner.

3. The kinds of sentences available;

4. The guideline sentencing range;

5. The need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            April 27, 2015
            Date                                                  U. S. District Judge


 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.



                                                                  Clerk, U.S. District Court




            April 27, 2015                                  By    S. English /s/
            Filed Date                                            Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).



                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
                                                                                       activity, and shall not associate with any person convicted of a felony
 2.    the defendant shall not leave the judicial district without the written         unless granted permission to do so by the probation officer;
       permission of the court or probation officer;
                                                                                 11.   the defendant shall permit a probation officer to visit him or her at any
 3.    the defendant shall report to the probation officer as directed by the          time at home or elsewhere and shall permit confiscation of any
       court or probation officer and shall submit a truthful and complete             contraband observed in plain view by the probation officer;
       written report within the first five days of each month;
                                                                                 12.   the defendant shall notify the probation officer within 72 hours of
 4.    the defendant shall answer truthfully all inquiries by the probation            being arrested or questioned by a law enforcement officer;
       officer and follow the instructions of the probation officer;
                                                                                 13.   the defendant shall not enter into any agreement to act as an informer
 5.    the defendant shall support his or her dependents and meet other                or a special agent of a law enforcement agency without the permission
       family responsibilities;                                                        of the court;

 6.    the defendant shall work regularly at a lawful occupation unless          14.   as directed by the probation officer, the defendant shall notify third
       excused by the probation officer for schooling, training, or other              parties of risks that may be occasioned by the defendant’s criminal
       acceptable reasons;                                                             record or personal history or characteristics, and shall permit the
                                                                                       probation officer to make such notifications and to conform the
 7.    the defendant shall notify the probation officer at least 10 days prior         defendant’s compliance with such notification requirement;
       to any change in residence or employment;
                                                                                 15.   the defendant shall, upon release from any period of custody, report
 8.    the defendant shall refrain from excessive use of alcohol and shall not         to the probation officer within 72 hours;
       purchase, possess, use, distribute, or administer any narcotic or other
       controlled substance, or any paraphernalia related to such substances,    16.   and, for felony cases only: not possess a firearm, destructive device,
       except as prescribed by a physician;                                            or any other dangerous weapon.

 9.    the defendant shall not frequent places where controlled substances
       are illegally sold, used, distributed or administered;




       The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS



           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.



          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.



          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).



         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).



           Payments shall be applied in the following order:



                       1. Special assessments pursuant to 18 U.S.C. §3013;

                       2. Restitution, in this sequence:

                                  Private victims (individual and corporate),

                                  Providers of compensation to private victims,

                                  The United States as victim;

                       3. Fine;

                       4. Community restitution, pursuant to 18 U.S.C. §3663(c); and

                       5. Other penalties and costs.




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                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE



          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.



           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.



         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.



                                 These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN



 I have executed the within Judgment and Commitment as follows:

 Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                     to

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      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.


                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE



 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY




Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.



         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




         (Signed)

                     Defendant                                                      Date


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                     U. S. Probation Officer/Designated Witness           Date




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